Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 1 of 30 PageID #: 548




                          EXHIBIT A
                                 506949605        10/29/2021
          Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 2 of 30 PageID #: 549
                              PATENT ASSIGNMENT COVER SHEET

Electronic Version v1 .1                                                                  EPASID:PAT6996442
Stylesheet Version v1 .2

SUBMISSION TYPE:                        NEW ASSIGNMENT
NATURE OF CONVEYANCE:                   ASSIGNMENT

 CONVEYING PARTY DATA
                                       Name                                          Execution Date
  GEOCODEX LLC                                                                     06/29/2021


  RECEIVING PARTY DATA
  Name:                    LONGBEAM TECHNOLOGIES LLC
  Street Address:          10900 RESEARCH BLVD, STE 160C PMB 1113
  City:                    AUSTIN
  State/Country:           TEXAS
  Postal Code:             78759


 PROPERTY NUMBERS Total: 7
          Property Type                         Number
  Patent Number:                   6985588
  Patent Number:                   7660418
  Patent Number:                   7143289
  Patent Number:                   8472627
  Patent Number:                   7512989
  Patent Number:                   7120254
  Patent Number:                   10715316


 CORRESPONDENCE DATA
 Fax Number:
 Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent
 using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.
 Phone:                         8325946811
 Email:                         linhd@ip-edge.com
 Correspondent Name:            LONGBEAM TECHNOLOGIES LLC
 Address Line 1:                10900 RESEARCH BLVD, STE 160C PMB 1113
 Address Line 4:                AUSTIN, TEXAS 78759

NAME OF SUBMITTER:                      SHARON BULLION
SIGNATURE:                             /Sharon Bullion/
DATE SIGNED:                            10/29/2021
Total Attachments: 3

                                                                              PATENT
      506949605                                                       REEL: 057958 FRAME: 0021
        Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 3 of 30 PageID #: 550
source=lnkPaper - Exhibit A - Patent Assignment signed by Longbeam ADDRESS CORRECTED#page1 .tit
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                                                                        PATENT
                                                                REEL: 057958 FRAME: 0022
Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 4 of 30 PageID #: 551



   Exhibit A

                                        PATENT ASSIGNMENT


           For good and valuable consideration, the receipt of which is hereby acknowledged,
   Gcocodex  LLC, a limited liability company located at 4400 Broadway Blvd., Suite 600, Tuscon,
   AZ 85711 (''Assignor"), does hereby assign, transfer, and convey unto Longbearn Technologies
   LLC, a Texas limited liability company, having an address at 10900 Research Blvd. Suite 160C
   PMB 1113, Austin, TX 78759, ("Assig11ee''), or its designees, all right, title, and interest that
   exist today and may exist in the future. in and to any and all of the follmving (collectively, the
   "Patent Rights"):

          (a) the patent applications and patents listed in the table belovl (the "Patents'' or
   "P"tent'');

     Patent     Application
                              Country    Filing Date    Title of Patent(s) and Fir.st Named Inventor
     No(s).        No(s).
   6985588      09/699832     us        10/30/2000     System and Method for Using Location ldenti1y
                                                       to Control Access !O Digital lnfiirmation; Barry J.
                                                       Glick



   7660418      11/546089     us        10/10/2006     Cryptographic System and l'vkthod for
                                                       Geolocking and Sect1ring Digital lnfom1ation:
                                                       Barry J. Glick



   7143289      09/992378     us        11/16/2001     System and Method for Delivering Encrypted
                                                       Info1mation in a Communication Network Using
                                                       Location fdcntity and Key Tab!es; Dorothy E.
                                                       Denning


   8472627      l l/561857    us        11/20/2006     System and Method for Delivering Encrypted
                                                       .Information in a Communication Net,vork Using
                                                       Location Identity and Key Tables; Dorothy E.
                                                       Denning


   7512989      10/278488     us        I0/22/2002     Data Loader Using Location Identity lo Provide
                                                       Secure Commui1ication of Data t(i Recipient
                                                       Devices: Logan Scott



   7120254      09/758637     us        01/10/2001     Cryptographic System and rvicthod for
                                                       Ge(,locking and Securing Digital Information;
                                                       Barry J. Glick




                                                                                   PATENT
                                                                           REEL: 057958 FRAME: 0023
Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 5 of 30 PageID #: 552



    Exhibit A

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                                                                                   i                             i l,krm!v: Dowthv E. Ik1miB!!:.   -·


  ................................................................................1............................. 1...   ..        -           ,.

                      (l1) any parents. patents that share fhe same specification as {a);

            (c) any additional patents or applications to which {a) or (bi clairns priority, as ,veil as
    any additional putents and patent applications cbiming priority to (a) or (b), including but nnt
    foniled to patents or fMtent applications is::rw;:d, granted, or pending via any divisi<.lnab,
    continuations, continuations-in-part, reissues and reexaininations. of (a} and (b);

            (d) any patents or patent applicatiom that are terminally disclaimed to any of the
    foregoing in (a) through (c) or to which any of the foregoing in (a) through (c) are tern1inaJly
    disclaimed;

            (e) any fi.m:ign counteqlarts of {a) through (dl, whcrdn all assets inch.u:kd in (a) through
    (e) shall be herein referred tow, "Patents and Relate<l Patents'';

                     (f) ail right, litle and interest to the Patent.<; imd Related Patents;

             (g) all of the rights, privileges including the benefits of.my attorney client privflegt:: or
    attorney work pro<luct privilege, title and interest in and Lo the Paients. and Related Patents sold,
    l:ransforn::d, assigned and set ov1.tr to ,Ast-dgnee hereunder including all ine<.Hl1i.\ royaltit.'.,;, damages
    and payments now or hereafter due or payable '>Vith respect thereto: and

            (h) the right to bring any claim, ~me, countcrdaim, and n.:covt~r for the past, present and
    future infringement of the rights assigned hereunder,




    ASSIGNOR: GEOCODEX LLC


    By:
                                                   BarryJ Glick

                                         Managing Member
    Titk,:
                                                  06/29/2021
    Date:




                                                                                                                                              PATENT
                                                                                                                                      REEL: 057958 FRAME: 0024
  Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 6 of 30 PageID #: 553



     Exhibit A

     ASSIGNEE: LONGBEAM TECHNOLOGIES LLC


     By:

     Name: Sharon Bullion

     Title: Managing Member

     Date:       6i24/202 .I




                                                             PATENT
RECORDED: 10/29/2021                                 REEL: 057958 FRAME: 0025
Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 7 of 30 PageID #: 554




                        EXHIBIT B
    Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 8 of 30 PageID #: 555




 United States: More IP Edge Litigation Launched Over Former Empire Technology
                Patents, This Time Targeting Infrastructure Products
                                           Mondaq Business Briefing
                                            August 3, 2021 Tuesday



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Length: 1409 words

Byline: RPX Corporation

Body


Apparent IP Edge LLC plaintiff Invincible IP LLC has sued Alibaba (Alibaba Cloud US) (1:21-cv-

00956), Citrix Systems (1:21-cv-00954), DigitalOcean (1:21-cv-00959), NetApp (1:21-cv-00960), and

Nutanix (1:21-cv-00955) over the alleged infringement of up to five former Empire Technology

Development LLC patents, of disparate origins, through the provision of infrastructure software products

and solutions. These filings put the number of litigation campaigns that entities associated with IP Edge
have begun over patents picked up from Empire Technology at 12.

The October 2020 assignment of nearly 30 US patents from Empire Technology to Invincible IP was

recorded with the USPTO this past March. It included the five patents that the NPE has now asserted

(8,938,634; 8,954,993; 9,479,472; 9,635,134; 9,678,774). With the '634 patent, which generally relates to

"provid[ing] power savings in a data center", Invincible IP targets the Alibaba Cloud platform, Citrix

Hypervisor virtualization service, the DigitalOcean cloud platform, NetApp Hyper Converged
Infrastructure (HCI) solution, and Nutanix AHV virtualization service. The '634 patent comprises a
    Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 9 of 30 PageID #: 556
      United States: More IP Edge Litigation Launched Over Former Empire Technology Patents, This Time Targeting
                                                 Infrastructure Products


single-member family, with its sole named inventor (Ezekiel Kruglick) assigning it, through Ardent

Research, to Empire Technology in January 2012.

The '993 and '472 patents share the same named inventor and followed a similar path into Empire

Technology's hands, through a February 2013 assignment. The comprise a family of two, generally related

to processing "queue requests from co-located workers in a datacenter". The accused products are the

AlibabaMQ for Apache RocketMQ distributed message queue service, Citrix ADC Simple Queue service,

and NetApp Cloud Sync data replication service, with the two patents not asserted in the complaints filed
against DigitalOcean and Nutanix. On social media, Kruglick identifies himself as having been the CEO

and director of Ardent Research (characterized as "a technology consulting, research, and design

company") from November 2009 through January 2021, listing several ongoing board positions (either

member or technical advisor) into present day.

The '134 patent, which appears to have just expired, in May 2021, for failure to pay required maintenance

fees, broadly concerns "manag[ing] resources in a cloud computing environment". It issued to Empire

Technology after its named inventors assigned it in 2012 to Beijing Endless Time and Space Technology,

which passed it to Empire on the same day. Invincible IP targets with the '134 patent network

management tools, including the Alibaba Cloud Auto-Scaling service, Citrix Hypervisor, Digital Ocean
Compute, NetApp Spot, and Nutanix AHV.

Finally, the '774 patent generally relates to migrating a virtual machine if the location of the "target host is

within a particular perimeter". The five defendants are accused of infringement through the provision of

data management products including the Alibaba Cloud - Elastic Compute Service, Citrix Xenserver

virtualization tool, Digital Ocean Droplets virtualization service, NetApp ONTAP platform, and Nutanix

Prism Central multi-cluster management tool. The '774 patent issued in June 2017 after its sole named
inventor, through H&C Scientific Resources, assigned it as an application to Empire Technology in

February 2012.

Empire Technology is a subsidiary of Allied Inventors Management, LLC (AIM), which was reportedly

founded in 2015 to monetize patents received from Intellectual Ventures LLC (IV). In December 2018,
   Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 10 of 30 PageID #: 557
      United States: More IP Edge Litigation Launched Over Former Empire Technology Patents, This Time Targeting
                                                 Infrastructure Products


Empire Technology granted a security interest in over 2,800 patent assets to a subsidiary of Crestline

Investors, with the NPE subsequently recording a series of releases of the Crestline security interest over

various sets of its patents, ahead of an accelerating set of divestments from late 2019 through 2020.

Recipients include Allied Security Trust, presumably for subsequent sale, and IP Edge, as well as Boogio,

Huawei, NohBell, and Mercury Kingdom Assets Limited (a murky entity, addressed in the British Virgin
Islands, with director Standguard Nominees (H.K.) Ltd., a Hong Kong entity of uncertain operations,

other than to continue prosecuting applications in the families acquired).

IP Edge has picked up multiple portfolios from Empire Technology since. In December 2019, it acquired

batches of assets through apparent controlled entities Chimetech Licensing LLC (two patents), Crave

Licensing LLC (33 patents), and Xinctec Technologies LLC (32). The firm added three more portfolios

from Empire in 2020, received by Atestraw Licensing LLC (17 patents), Mellaconic IP LLC (6), and

Syclone IP LLC (1). Across multiple of its 2020 campaigns, IP Edge has litigated 13 of those patents,
hitting a combined 44 defendants across the set.

IP Edge was formed as prominent monetization firm IP Navigation Group, LLC (d/b/a IPNav) wound

down operations when founder Erich Spangenberg "moved off" into 2014 to "do other things" thereafter

(details here). Having been the director and vice president of Asia for IPNav in 2012-2013, Lillian Woung

created IP Edge with fellow Texas attorneys Gautham (Gau) Bodepudi and Sanjay Pant, first in Nevada

and later merging into Texas. The firm has been the top filer of NPE cases over the years since, having
initiated over 135 litigation campaigns in total, both right before and of course after its formation in

Texas.

Typically litigating in file-and-settle fashion, IP Edge has never taken a case to trial, with litigation

usually ending at the pleadings stage, or just after. However, last year it filed an International Trade

Commission (ITC) complaint, a first for the firm, through controlled plaintiff Q3 Networking LLC,

against respondents CommScope, HP Enterprise, and NETGEAR, arguing the presence of a domestic

industry based on the US activities of the original source of the patents asserted, Siemens. That
investigation has persisted into expert discovery and dispositive motions. Then, in April 2021, through

controlled plaintiff Bishop Display Tech LLC, the firm split 13 LCD patents acquired from Japanese firm
   Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 11 of 30 PageID #: 558
      United States: More IP Edge Litigation Launched Over Former Empire Technology Patents, This Time Targeting
                                                 Infrastructure Products


IP Bridge, Inc. into two groups, one of seven and the other of six, asserted in a pair of Western District of

Texas cases filed against Samsung on the same day. No complaint over either set of patents has been filed

with the ITC.

The firm does not appear ready to leave its spot as the lead NPE plaintiff. Over the years, it has turned to

various sources for its patents, including individual inventors, operating companies, other NPEs (like

Empire Technology), and, more recently, at least one university-and its pipeline appears chock full of

assets still to litigate. Perhaps most notable among them is a large portfolio of assets-more than 700-

picked up from Technicolor SA in July 2020. The second quarter of 2021 saw that portfolio's first visible
movement since it was acquired, with IP Edge's Magnolia Licensing LLP (the primary vehicle through

which IP Edge appears to have completed that acquisition) transferring former Technicolor patents to at

least three IP Edge NPEs: Bataan Licensing LLC, Sunflower Licensing LLC, and Triumph IP LLC.

Moreover, IP Edge has continued to form additional entities, likely future plaintiffs, in Texas, among

them Crimson IP LLC (which just launched its own litigation campaign); Longbeam Technologies LLC;

and US Innovation Fund LLC. That third entity is particularly notable as Bodepudi, Pant, and Woung are

named directly as its managing members. IP Edge more typically identifies longtime Texas residents,

usually without independent connection to patent monetization, as managers or managing members of its
LLCs. The last two entities of which its founders are directly identified are Q3 Networking (litigating

before the ITC) and Bishop Display Tech (hitting Samsung with a large number of former IP Bridge

assets across two suits), both of which departed from the firm's established patterns and practices.

Gawthrop Greenwood, PC filed the new complaints on behalf of Invincible IP. A one-page assessment of

this campaign is available for download on RPX Insight. 6/30, District of Delaware.

The content of this article is intended to provide a general guide to the subject matter. Specialist advice

should be sought about your specific circumstances.

 RPX Corporation

RPX Corporation

4 Embarcadero Center
   Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 12 of 30 PageID #: 559
     United States: More IP Edge Litigation Launched Over Former Empire Technology Patents, This Time Targeting
                                                Infrastructure Products


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Load-Date: August 3, 2021


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Case 1:21-cv-01559-CFC Document 34-1 Filed 07/25/22 Page 13 of 30 PageID #: 560




                         EXHIBIT C
           Case
7/22/22, 10:25 AM   1:21-cv-01559-CFC
                         Patent Filings Roundup: Document
                                                 In a Slow Week,34-1    Filed
                                                                IP Edge Hits    07/25/22
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                                                                                                                   Gross-Run#: 561Proliferate
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              PATENT OFFICE EXAM
              BENEFIT FROM THE PLI EXPERIENCE
              RECEIVE A       10 % DISCOUNT ON PLl'S PATENT OFFICE EXAM COURSE




   Patent Filings Roundup: In a Slow Week, IP Edge Hits
   Amazon on Cryptographic Keys and Jeffrey Gross-Run
   Entities Proliferate
                      JONATHAN STROUD
                      NOVEMBER 10, 2021, 12:15 PM                   6


     Another week, another dearth of any Fintiv
     denials, which sort of begs the question, if
     the Patent Trial and Appeal Board (PTAB)
     has effectively walked back their reliance on
     the Fintiv factors, does that order’s
     precedential status merit walking back? In
     terms of district court and PTAB patent
     filings, subdued is the word; just 19 PTAB
     petitions (all inter partes reviews) with four
     being apparent joinders by LG Electronics
     against Gesture Technology Partners,
     LLC [a Tim Pryor entity] well prior to
     institution, seeking to join Apple petitions.
     Previous Pryor entities include Motion
     Games LLC, PSTP Ttechnologies, Tactile
     Feedback Technology, LMI Technologies
     Inc., and Great Lakes Intellectual
     Property, Ltd]. Gil Hyatt filed yet another
     suit this week (and has filed one a week, it seems, for some time).
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      information.         ACCEPT AND CLOSE



https://www.ipwatchdog.com/2021/11/10/patent-filings-roundup-in-a-slow-week-ip-edge-hits-amazon-on-cryptographic-keys-and-jeffrey-gross-run-enti…   1/10
           Case
7/22/22, 10:25 AM   1:21-cv-01559-CFC
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                                                                                                                             Entities

      The one standout stat this week is yet another huge month of terminations, with 84, many of
     them some of the IP Edge glut we’ve been discussing in recent weeks. Otherwise, a relatively
     quiet week saw a fair number of Leigh Rothschild-controlled entities file new complaints (via
     Information Technology Systems, Digital Verification Systems, and of course longtime filer
     Rothschild Patent Imaging). Another Scramoge complaint (against Google) was filed, in that
     Atlantic IP, Magnetar Capital-funded campaign; the Jeffrey Gross-run Auth Token LLC
     electronic transactions campaign continues to add defendants; and a different Gross-run
     campaign, Compression Vectors LLC, filed a single-patent suit against Intel. That patent had
     been previously challenged in IPR (and then quickly settled) by Canon, and had also been
     asserted against Cisco, and relates generally to video codecs. Indeed, Gross has had quite the
     expanding portfolio for the past few years, and appears to be one of the bigger beneficiaries of
     the Intellectual Ventures fire sale at the end of 2018.


     The Curious Case of IP Edge and Amazon: In a highly uncharacteristic, brand-new campaign
     run by IP Edge, subsidiary Longbeam Technologies LLC sued platform giant Amazon on four
     patents related to cryptographic keys, encryption, and secure communications. The patents
     come originally from a defunct company called Geocodex LLC, and buck the usual IP Edge
     modus operandi by opening against one of the tech giants unlikely to settle quickly, without any
     runup, and with multiple somewhat complex patents at the forefront. The accused products are
     streaming or web services (AWS and Amazon Prime Video) that support geographic limitations
     on data—for instance, country-specific streaming licenses for content, a feature known to
     Amazon as Amazon Kinesis. The complaints are unusually detailed, were filed in Delaware, and
     could be another clue to the most-frequent-filer’s shift in overall strategy as its base of file-and-
     settle suits approaches 600 for 2021.


                                                                                  PTAB (19)
         Case
                       Action                        Owner                                        Petitioner                         Patent
      Number
      IPR2022-                        Lennon Image Technologies,
                         Filed                                                                   Perfect Corp.                      6624843
        00124                              LLC [Empire IP]
      IPR2022-
                         Filed           Swarm Technology LLC                             Juniper Networks, Inc.                   10592275
        00141
      IPR2022-
                         Filed               Eye Therapies, LLC                           Slayback Pharma LLC                       9259425
        00146
                                        HD Silicon Solutions LLC
      IPR2022-
                         Filed          [f/k/a Innovative Silicon                     Microchip Technology, Inc.                    6774033
        00105
                                             Solutions, LLC]
      Our website uses cookies to provide you with a better experience. Read our privacy policy for more
      IPR2022-                                                                    Luxshare Precision Industry Co.,
      information. Filed     Amphenol Corporation
                    ACCEPT AND CLOSE
                                                                                                                   10381767
        00132                                                                                  Ltd.


https://www.ipwatchdog.com/2021/11/10/patent-filings-roundup-in-a-slow-week-ip-edge-hits-amazon-on-cryptographic-keys-and-jeffrey-gross-run-enti…   2/10
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                                                                                                                             Entities

      IPR2022-                       Gesture Technology Partners,
                         Filed                                                              LG Electronics, Inc.                    8194924
        00093                              LLC [Tim Pryor]
      IPR2022-                       Gesture Technology Partners,
                         Filed                                                              LG Electronics, Inc.                    7933431
        00091                              LLC [Tim Pryor]
      IPR2022-
                         Filed               Eye Therapies, LLC                           Slayback Pharma LLC                       8293742
        00142
      IPR2022-                                                                    The Data Company Technologies
                         Filed                 Bright Data Ltd.                                                 10484510
        00138                                                                                 Inc.
      IPR2022-                        United Services Automobile
                         Filed                                                                 PNC Bank N.A.                        9224136
        00075                                 Association
      IPR2022-                                                                      Hewlett Packard Enterprise
                         Filed        Intellectual Ventures II, LLC                                             RE44818
        00096                                                                                Company
      IPR2022-                                                                    The Data Company Technologies
                         Filed                 Bright Data Ltd.                                                 10257319
        00135                                                                                  Inc.
      IPR2022-
                         Filed               DNA Genotek Inc.                            Spectrum Solutions LLC                    10767215
        00134
      IPR2022-                                                                     Ebates Performance Marketing,
                         Filed                       IBM Co.                                                                        7543234
        00133                                                                        Inc. d/b/a Rakuten Rewards
      IPR2022-
                         Filed                Memoryweb, LLC                                      Apple, Inc                       10423658
        00033
      IPR2022-                       Gesture Technology Partners,
                         Filed                                                              LG Electronics, Inc.                    8878949
        00092                              LLC [Tim Pryor]
      IPR2022-                       Gesture Technology Partners,
                         Filed                                                              LG Electronics, Inc.                    8553079
        00090                              LLC [Tim Pryor]
      IPR2022-
                         Filed             Koninklijke KPN N.V.                                  Ericsson Inc.                      RE48089
        00079
      IPR2022-                        Scramoge Technology Ltd.
                         Filed                                                                    Apple, Inc.                       9843215
        00117                       [Magnetar Capital, Atlantic IP]
                  Not
      IPR2021-
               Instituted Litl LLC [TRI Ventures, Inc.]                                Lenovo United States Inc.                    8612888
        00821
                – Merits
                  Not
      IPR2021-
               Instituted Litl LLC [TRI Ventures, Inc.]                                Lenovo United States Inc.l                  10289154
        00800
                – Merits
                  Not
      IPR2021-                 Teladoc Health Inc.
               Instituted                                                             American Well Corporation                     7761185
        00933                  Jonata Sub Two Inc.
                – Merits
                          Daedalus
      Our website uses cookies       Blueyou
                               to provide LLCwith
                                              [EdaGomez,
                                                   better experience. Read our privacy policy for more
      IPR2021-
                     Instituted        Daedalus Group LLC, poss.                          Microsoft Corporation                     8671132
      information.
        00831              ACCEPT AND CLOSE
                                                       IBM]

https://www.ipwatchdog.com/2021/11/10/patent-filings-roundup-in-a-slow-week-ip-edge-hits-amazon-on-cryptographic-keys-and-jeffrey-gross-run-enti…   3/10
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                                                                                                                   Gross-Run#: 564Proliferate
                                                                                                                             Entities

      IPR2021-                                                                     KaiJet Technology International
                     Instituted                   Sanho Corp                                                                       10572429
        00886                                                                                    Limited, Inc
      IPR2021-
                     Instituted                WiTricity Corp.                   Momentum Dynamics Corporation 9306635
      01127
     PGR2021-                                                                     G&H Diversified Manufacturing,
                     Instituted Dynaenergetics Europe Gmbh                                                                         10844697
        00078                                                                                  LP
                                                                                 One World Technologies, Inc. d/b/a
                                                                                      Techtronic Industries Power
                         Final
      IPR2020-                                                                               Equipment
               Written                      Chervon HK Limited                                                                      9596806
        00884                                                                        One World Technologies, Inc.
               Decision
                                                                                      Techtronic Industries Power
                                                                                              Equipment
                        Final
      IPR2020-
                       Written            Jodi A. Schwendimann                                   Neenah, Inc.                       7766475
        00915
                      Decision
                                                                                     One World Technologies, Inc.
                                                                                     Techtronic Industries Power
                Final
      IPR2020-                                                                              Equipment
               Written                      Chervon HK Limited                                                      9986686
        00887                                                                    One World Technologies, Inc. d/b/a
               Decision
                                                                                      Techtronic Industries Power
                                                                                              Equipment
                                                                                   Atlas Copco Tools and Assembly
                Final                                                                              LLC
      IPR2020-                          Wildcat Licensing WI, LLC
               Written                                                                      General Motors LLC                      RE47232
        00892                          [Sockeye Licensing TX LLC]
               Decision                                                           Faurecia Automotive Seating LLC
                                                                                      Magna International Inc.
                                                                                     One World Technologies, Inc.
                                                                                     Techtronic Industries Power
                        Final
      IPR2020-                                                                                    Equipment
                       Written              Chevron HK Limited                                                                     10070588
        00888                                                                    One World Technologies, Inc. d/b/a
                      Decision
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                                                                                                  Equipment
                Final
      IPR2020-
               Written                       Corephotonics Ltd.                                   Apple, Inc                       10288840
        00877
               Decision
                         Final
      IPR2020-                   The Noco Company             Shenzhen Carku Technology Co.,
                 Written                                                                           9007015
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                Final                                                                       General Motors LLC
      IPR2020-                          Wildcat Licensing WI, LLC
               Written                                            Faurencia Automotive Seating LLC RE47220
        00891                          [Sockeye Licensing TX LLC]
               Decision                                                Magna International Inc.
                                                                   Faurecia Automotive Seating LLC
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                                                                                     One World Technologies, Inc.
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      IPR2020-                                                                                Equipment
                      Written               Chevron HK Limited                                                                      9826686
        00886                                                                    One World Technologies, Inc. d/b/a
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      IPR2020-
               Written                       Corephotonics Ltd.                                   Apple, Inc                       10330897
        00878
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                               Rothschild Patent Imaging LLC
      8:21-cv-
                    Filed      [Leigh Rothschild, Patent Asset                                  Circle 38 Inc                       8437797
       01809
                                            Management]
                                                                                              Amazoncom Inc                         8558591
                                                                                              Linksys Usa Inc                       8482136
      8:21-cv-
                    Filed                    Nxp Usa Inc                                            Belkin                          7593202
       01810
                                                                                                   Mediatek                        10904058
                                                                                                Mediatek Inc                        9729214
                              Informative Technology Systems
      3:21-cv-
               Filed             LLC [Leigh Rothschild, Patent                                     Nextlabs                         8156151
       08505
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                              Informative Technology Systems
      3:21-cv-
                    Filed        LLC [Leigh Rothschild, Patent                                    Digify Inc                        8156151
       08506
                                      Asset Management]
                               Digital Verification Systems LLC
      3:21-cv-
                    Filed      [Leigh Rothschild, Patent Asset                                   Paubox Inc                         9054860
       08531
                                            Management]
      5:21-cv-                                                                 Northern Electric Power Technology 9331489
              Filed
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                               Keystone Automotive Industries                                 General Motors
      1:21-cv-                                                                                                                      D818406
               Filed                               Inc                          Gm Global Technology Operations
       05854                                                                                                                        D828256
                                          Lkq Corporation                                             LLC
                                          Viiv Healthcare
      1:21-cv-
                    Filed                Shionogi                                              Lupin Limited                        9242986
       01561
                              Viiv Healthcare Uk No 3 Limited
      3:21-cv-                                                                                                                      9035180
               Filed             Oreilly Winship LLC Dba Owl                        Snaprays LLC Dba Snappower
       02719                                                                                                                        9871324
                               Digital Verification Systems LLC
      3:21-cv-
                    Filed      [Leigh Rothschild, Patent Asset                              Foxit Software Inc                      9054860
       08529
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                                                                                       The Partnerships And                         D844435
      1:21-cv-
                    Filed                 Onmywhey LLC                              Unincorporated Associations                     D865527
       05877
                                                                                       Identified On Schedule A                    D844436
                                             Pf Prism CV                                                                           10723730
                                                                                   Synthon Pharmaceuticals Inc
      1:21-cv-                            Pf Prism Imb BV                                                         RE47739
                    Filed                                                        Synthon International Holding Bv
       01567                             Pfizer                                                                   6936612
                                                                                           Synthon Bv
                               Warner-Lambert Company LLC                                                         7456168
      6:21-cv-                                                                                                                     11096815
               Filed                Applied Biokinetics LLC                                     Walmart Inc
       01132                                                                                                                        8814818
      2:21-cv-
               Filed              Splash Medical Devices LLC                                     Zerowet Inc                        8747372
       08739
                                      Boehringer Ingelheim                                                                         11090323
      1:21-cv-
               Filed                   International Gmbh                                  Sun Pharmaceutical                      10258637
       01573
                                      Boehringer-ingelheim                                                                          7579449
      6:21-cv-
               Filed            Auth Token LLC [Jeffrey Gross]                                  Citigroup Inc                       8375212
       01125
      6:21-cv-
               Filed            Auth Token LLC [Jeffrey Gross]                                  Hbsc Usa Inc                        8375212
       01126
                              Informative Technology Systems
      3:21-cv-
               Filed          LLC [Leigh M. Rothschild, Patent                                   Seclore Inc                        8156151
       08504
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      4:21-cv-
               Filed [Leigh M. Rothschild, Patent Asset                                     Foxit Software Inc                      9054860
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      1:21-cv-
                Filed            E-z Dock Inc                         Snap Dock LLC                7918178
       02761
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                Filed           Gilbert P Hyatt                      Andrew Hirshfeld
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      1:21-cv-                        Sito Mobile Rd Ip LLC                                                                         9135635
               Filed                                                                            Thestreet Inc
       01571                             Sito Mobile Ltd                                                                            9350777
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      6:21-cv-       Scramoge Technology Ltd [Atlantic
               Filed                                                                             Google LLC                        10193392
       01138               IP, Magnetar Capital]
                                                                                 The Individuals Partnerships And
      0:21-cv-                                                                                                                      D903038
                    Filed                   Baoying Zhao                            Unincorporated Associations
       62264                                                                                                                        D924038
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      1:21-cv-
               Filed                      Immervision Inc                                            Apple                         10795120
       01570
      6:21-cv-                                                                                                                      8414511
               Filed                Applied Biokinetics LLC                                     Walmart Inc
       01134                                                                                                                       10212987
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                                     Synergy Ip Corporation
      2:21-cv-                                                                       Samsung Electronics Co Ltd                     9491542
                    Filed         Staton Techiya LLC [Staton
       00413                                                                                  Samsung Group                         9609424
                                           Capital]
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      6:21-cv-       Compression Vectors LLC [Jeffrey
               Filed                                                                              Intel Corp                        6731813
       01142                     Gross]
      4:21-cv-                                                                         Fifth Third Bank National
               Filed            Auth Token LLC [Jeffrey Gross]                                                                      8375212
       02100                                                                                  Association
                               Rothschild Patent Imaging LLC
      2:21-cv-
              Filed [Leigh M. Rothschild, Patent Asset                    Evite Inc                8437797
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      1:21-cv-                 Longbeam Technologies LLC [IP                                       Amazon                          10715316
                    Filed
       01559                                      Edge]                                      Amazon.com Inc                         7660418
                                                                                                                                    8472627
                           Digital Verification Systems LLC
      5:21-cv-
                    Filed [Leigh M. Rothschild, Patent Asset                                     Paubox Inc                         9054860
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      1:21-cv-                                                                           Spectra Merchandising
               Filed                   Inmusic Brands Inc.                                                                          7567498
       05882                                                                                 International
                      Digital Verification Systems LLC
      7:21-cv-
               Filed [Leigh M. Rothschild, Patent Asset                                         Keepsolid Inc                       9054860
       09045
                               Management]
      2:21-cv-
               Filed   Auth Token LLC [Jeffrey Gross]                                 Capital One Financial Corp                    8375212
       00408
      2:21-cv-
               Filed   Auth Token LLC [Jeffrey Gross]                                  Jpmorgan Chase Bank Na                       8375212
       00409
      6:21-cv-
               Filed   Auth Token LLC [Jeffrey Gross]                                      Bmo Harris Bank Na                       8375212
       01124
      8:21-cv-                                                                               Wheel Pros
               Filed     Oe Wheel Distributors LLC                                                                                  D890069
       02573                                                                          Mobile Hi-tech Wheels LLC
      3:21-cv-                                               Northern Electric Power Technology 9331489
               Filed                       Cyboenergy Inc
       08534                                                                 Inc                  8786133
      2:21-cv-                Wangs Alliance Corporation Dba Affordable Quality Lighting Inc Dba 10962209
               Filed
       08700                          Wac Lighting                       Aq Lighting             10598358
      2:21-cv-
               Filed                       Ministrap LLC                                       Quiktrip Corp
       00410
                                                                                                                                   11126937
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      2:21-cv-                                                                              Farmers Edge Inc
               Filed                       Farmobile LLC                                                                           10963825
       00411                                                                               Farmers Edge Us Inc
                                                                                                                                   11107017
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      1:21-cv-
                Filed           Gilbert P Hyatt                      Andrew Hirshfeld
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                Filed         Jeagr Ventures LLC                         Does 1-54                  9528204
       05900
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                Filed          Coachcomm LLC                       Westcom Wireless Inc
       00743
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                    Filed           Applied Biokinetics LLC                                     Walmart Inc
       01133                                                                                                                        8968229
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      1:21-cv-                       Meda Pharmaceuticals
                    Filed                                                                Aurobindo Pharma Ltd                       8071073
       01575                          Bayer Healthcare LLC
                                                                                                                                    9919050




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     Author: Zerbor
     Image ID: 69425507




                      JONATHAN STROUD
                      Jonathan Stroud is General Counsel at Unified Patents, LLC, where he manages a growing team of
                      talented, diverse attorneys and oversees a docket of administrative challenges, appeals, licensing,
                      pooling, and [...see more]


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           Team
           Managing Members


           Lillian Wouna


           Lillian is an entrepreneur, investor, and an American attorney. Lillian is
           fluent in Mandarin and has lived and worked around the world. She is well
           versed in international business and has, in her prior careers, advised start-
           ups and large multinational companies in a variety of business, legal,
           technology issues.


           She has worked directly with the owners of a company widely considered to
           be the leader in patent monetization having generated over half a billion
           dollars in licensing revenue on behalf of its clients. In this role, she led
           multijurisdictional licensing campaigns in Europe, US and Asia.


           As patent and transactional counsel based in Silicon Valley, she advised
           technology companies on IP transactions. litigation and prosecution
           matters. As an analyst and consultant in the world's largest consulting firm,
           she advised global companies on enterprise technology systems.


           Lillian holds a Bachelor of Science in Chemical Engineering from Rice
           University which she attended on a full merit scholarship, and a Juris
           Doctor from University of California in Los Angeles School of Law (UCLA
           Law). She is admitted to practice law in California and before the United
           States Patent and Trademark Offi~.


           She lives in Seattle and is a proud mother of twin toddlers and a mini-
           schnauzer.


           Gautham Bodepudi


           Gau serves as Managing Partner for IP EDGE, where he manages licensing
           strategies and develops corporate collaborations.


           He has been active in the patent space for over a decade-he has experience
           in all aspects of patent monetization. including launching and executing
           large-scale patent licensing campaigns, including mining patent portfolios,
           conducting legal and technical due diligence to substantiate patent value,
           managing litigation and IPR teams, as well as patent and damages analysts.


           Gau writes on patent economics and policy and has been published in 1AM.
           IP Law 360. I PWatchDog, and has a patent blog at investini p.com.


           Gau holds a Bachelor of Science in Electrical Engineering from the
           University of Illinois at Urbana-Champaign and a Juris Doctor from the
           University of Chicago School of Law. He is admitted to practice in Illinois
           and before the United States Patent and Trademark Office.


           SanjayPant


           Sanjay serves as a Managing Partner at IP EDGE, where he creates
           collaborative channels with corporate and capital partners. develops its
monetization platform and ecosphere, and oversees enhancement of its
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proprietary platform software.


Sanjay holds a Bachelor of Science in Electrical Engineering, graduating
Summa Cum Laude from the University of Maryland at College Park, and a
Juris Doctor from the University of California at Los Angeles School of Law.
He is admitted to practice in Texas and before the United States Patent and
Trademark Office.




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  Plaintiff Newly Assigned to Judge Connolly’s Courtroom Amends Its
  Prior Disclosure

      May 22, 2022
      Category: In Case You Missed It




      In mid-April, District of Delaware Chief Judge Colm F. Connolly posted two new standing orders related to that
      courtroom’s disclosure requirements: one requiring litigants to disclose details related to any nonrecourse funding
      arrangements with third parties and a second requiring all “nongovernmental joint ventures, limited liability
      corporations, partnerships or limited liability partnerships” to include in disclosure statements “the name of every
      owner, member and partner of the party, proceeding up the chain of ownership until the name of every individual and
      corporation with a direct or indirect interest in the party has been identified”. At least one plaintiff has now responded
      to the application of these new standing orders to cases in its campaign.

      That plaintiff is Swirlate IP LLC, an entity formed in Texas on April 9, 2020, naming as its managing member Dina
      Gamez. In an amended disclosure filed on May 20, 2022, Swirlate apprised Judge Connolly, presumably to comply
      with the second new standing order outlined above, that it “is a Texas limited liability company, its sole owner and
      managing partner is Dina Gamez, it does not have a parent corporation, and that it has no publicly held corporation
      owning ten percent or more of its stock”. (Swirlate IP filed an analogous amended disclosure in more than one of its
      cases, either because of a new assignment to Judge Connolly’s courtroom or in litigation already underway there.)

      Swirlate IP has been litigating two former Panasonic patents (7,154,961; 7,567,622), generally related to “ARQ re-
      transmission” in a wireless communication system, since April 2020, its month of formation and the month during
      which it received four patents (the two appearing in litigation, together with two others). The plaintiff acquired those
      patents from Intertechnology Global LLC, which itself obtained them as part of a portfolio of more than 30 former
      Panasonic patents from Allied Security Trust (AST) in February 2017. Intertechnology Global was formed in Texas
      in January 2017, naming Tri Lam as its managing member.

      Intertechnology Global subsequently farmed some of those assets out, to seven Texas entities, each of which formed
      just prior to the patent transfers and each of which has launched a litigation campaign over its received assets: Techno
      Licensing LLC (hitting 18 defendants) and Zavala Licensing LLC (hitting 37 defendants) in 2017; to Commtech IP
      LLC (15 defendants) and Mentone Solutions LLC (29) in 2018; to Tekvoke LLC (27) in 2019; to Nitetek Licensing
      LLC (30) and Swirlate IP (38) in 2020. Each of these Texas entities names a different managing member: Brittany
      Nguyen for Techno Licensing, Tommy Le for Zavala Licensing, Tin Nguyen for Commtech IP LLC, Sally Pugal for
      Mentone Solutions, Lori LaPray for Tekvoke, Mark Hall for Nitetek Licensing, and Gamez for Swirlate IP.

      Most of these individuals appear to be Texas residents with no prior experience in patent monetization. What do they
      have in common? The answer is Texas monetization firm IP Edge LLC. Prior top monetization firm IP Navigation
      Group, LLC (d/b/a IPNav) wound down operations when founder Erich Spangenberg “moved off” into 2014 to “do
      other things” thereafter (details here). Having been the director and vice president of Asia for IPNav in 2012-2013,
      Lillian Woung created IP Edge in the wake of that move, with fellow Texas attorneys Gautham (Gau) Bodepudi (who
      also reports past work with IPNav) and Sanjay Pant, first in Nevada (in 2010) and later merging into Texas (in 2015).
      The firm has been the top filer of NPE cases over the years since, having initiated over 180 litigation campaigns in
      total, both right before and of course after its move to Texas and hitting thousands of defendants in the process.
https://insight.rpxcorp.com/news/70645-plaintiff-newly-assigned-to-judge-connolly-s-courtroom-amends-its-prior-disclosure?utm_campaign=weekl…   1/3
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      One of the patterns discernible from IP Edge’s entity creation, IP acquisition, and patent litigation over the years has
      been the naming of individuals, seemingly with no prior connection to monetization, as managers or managing
      members of its various LLCs, whether created to hold assets (like Intertechnology Global) or to assert them (like
      Swirlate IP and the rest mentioned above). Questions have always surrounded this repeated setup: What role, if any,
      does the named managing member play with respect to his or her LLC and its activities? Is IP Edge’s role limited in
      any way? What contracts govern the relationship between IP Edge, each of its litigating LLCs, and each of the
      managing members, with respect to control and dispensation of any proceeds from each campaign?

      It is clear, Swirlate IP’s amended disclosure notwithstanding, that IP Edge has maintained control over litigating
      LLCs. For example, in a September 2014 opposition to a motion to transfer filed by Facebook in a campaign litigated
      by Olivistar LLC, Bodepudi, Pant, and Woung revealed that they own the plaintiff. Pant signed a September 2014
      declaration indicating that he was a cofounder and managing member of Olivistar, as were Bodepudi and Woung,
      further declaring that “all three of Olivistar’s three managing members reside in, or in close proximity to, the Eastern
      District of Texas”. Pant attested that IPNav had acted as the “licensing advisor” for the source of Olivistar’s
      patents, Vigilos, LLC, and that “Olivistar’s licensing advisor is Dominion Harbor Group, LLC [now Dominion
      Harbor Enterprises, LLC], based in Dallas, Texas”.

      The manager disclosed in Texas state records for Olivistar was, however, Libby Barret, from its March 2014 creation
      until Dana Tran took over in October 2015. Over the years, Tran has also been disclosed as either the manager, officer,
      or managing member of various other entities associated with IP Edge, including Cassiopeia IP LLC, Colonial
      Licensing LLC, Dynavair LLC, Fusion IP LLC, Karetek Holdings LLC, Laboon Licensing LLC, Oberalis
      LLC, PluraTrade LLC, Tenaha Licensing LLC, and Voxathon LLC. Tran also used to “manage” IP Edge
      entity MagnaCross LLC, which is now (as of December 31, 2015) managed by Julie Wang.

      Notably, IP Edge has, over the past couple of years, begun to voluntarily terminate the charter of some of its LLCs in
      the state of Texas. For example, Dynavair, Oberalis, PluraTrade, Tenaha Licensing, and Voxathon have all been
      voluntarily terminated in the state. Most often, the document filed in Texas to terminate the LLC’s existence uses
      boilerplate language to describe “the nature of the event requiring winding up”: “A voluntary decision to wind up the
      entity has been approved in the manner required by the Texas Business Organizations Code and by the governing
      documents of the entity”. However, there are exceptions. Loramax LLC’s managing member Jennifer Chong, believed
      to be the same person as Yun Sun Chong, indicated that the nature of the event with respect to that entity was,
      “Decided to get out of Intellectual Property”, while the wind-down of another of her entities, Graham Springs
      LLC was because she just “[d]ecided to close [the] entity”. (Yun Sun Chong remains a manager or managing member
      with respect to several other IP Edge LLCs with live charters (see, e.g., Dawncrest IP LLC, HelioStar LLC, Stonebank
      IP LLC, and Xylon Licensing LLC), several others also voluntarily dismissed (see, e.g., Aristors Licensing,
      LLC; Guyzar LLC; PanTaurus LLC; and Theta Chip LLC), and yet another that had its charter revoked in a tax
      forfeiture (Pallidor LLC).

      Judge Connolly’s new standing orders have begun to provide insight into the control and organization of IP Edge
      filing parties—even as applied to just one plaintiff, Swirlate IP, associated with the country’s most prolific
      monetization firm, at least as counted by defendants added to litigation campaigns over the past several years. Here,
      an attorney, Jimmy Chong of The Chong Law Firm based in Wilmington, Delaware, has signed an amended
      disclosure indicating that Gamez is the “sole owner” and “managing partner” of Swirlate IP, even though the plaintiff
      is an LLC of which there are typically members, not partners. David R. Bennett of Direction IP Law appears as “of
      counsel” on the filing. Therefore, absent an error, neither IP Edge nor its principals (Bodepudi, Pant, and Woung)
      “own” Swirlate IP. They cannot be members or partners of Swirlate IP.



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      Judge Connolly does not appear to have filed a notice of his new standing orders in each of the cases assigned to him;
      however, the court has posted these new orders on his Delaware judge page with a prominent notice of their issuance.
      Swirlate IP’s amended disclosure indicates that plaintiffs have begun to take notice, and those orders now govern
      cases filed by, for example, two other IP Edge plaintiffs—Backertop Licensing LLC and Mellaconic IP LLC—as well
      as suits brought by other litigations, like, for example, FMC Corporation, Fortress Biotech (Journey
      Medical), S.M.R Innovations Ltd, and Y.M.R Tech Ltd.

      While Judge Connolly’s second new standing order, the one under which Swirlate IP just made its amended
      disclosure, is a general, open-ended mandate, the court’s first order has a timeframe associated with it (“[w]ithin the
      later of 45 days of this Order or 30 days of the filing of an initial pleading or transfer of the matter to this District”)
      that starts the clock ticking. As noted, that order requires litigants to disclose details related to any nonrecourse
      funding arrangements with third parties.

      On its website, IP Edge lists the “services” that it provides as IP Licensing, Portfolio Assessment, and Patent
      Divestment. With respect to the last service, the firm elaborates, “Are you looking to divest a portion of your patent
      portfolio? Our network of investors can enable you to explore the open market and obtain market value for your IP
      assets” (italics added). Is Gamez, though not previously experienced with patent monetization, part of a “network of
      investors”—and is IP Edge properly characterized as Swirlate IP’s “licensing advisor”? If Swirlate IP, for example,
      has contractual arrangements with IP Edge, perhaps as such a “licensing advisor”, that govern decisions in the
      litigation and/or distribution of any proceeds from the campaign, it will be interesting to see what, if anything,
      Swirlate IP has to say about those terms should its cases here (against Lantronix and Plantronics, for example) last
      beyond the deadline set by the standing order.

      For further coverage of Judge Connolly’s new disclosure requirements, in one of the busiest patent courts in the
      country, see “New Delaware Standing Orders Sharply Shift Disclosure Requirements” (April 2022).




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